                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 UNITED STATES OF AMERICA                        )
                                                 )
 vs.                                             )     3:23-CR-000068
                                                 )     (VARLAN/POPLIN)
 MELODY SASSER                                   )



        MOTION TO CONTINUE TRIAL AND ALL ASSOCIATED DEADLINES



        Comes the Defendant, Melody Sasser, by and through the undersigned counsel, and

 respectfully moves this Court to enter an Order continuing all Motion deadlines and the current

 trial date of August 15, 2023. In support of this Motion, counsel would show the following:

        1.     Counsel further avers that this case is complex and counsel needs additional time

               to review all discovery, negotiate a plea agreement, and/or prepare this case for

               trial.

        2.     This motion has been discussed with Ms. Sasser, who understands that a

               continuance of the trial date will necessarily affect the computation of time

               pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

        3.     The Defendant respectfully submits that the ends of justice served by granting a

               continuance outweigh the best interest of the public and the Defendant in a speedy

               trial, pursuant to 18 U.S.C. § 3161(h)(7)(A). The failure to grant a continuance

               would likely cause a miscarriage of justice (18 U.S.C. § 3161(h)(7)(B)(i)), or

               would deny counsel for the Defendant reasonable time for effective preparation,




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                taking into consideration the exercise of due diligence (18 U.S.C. §

                3161(h)(7)(B)(iv).

        4.      Counsel avers that he has spoken with AUSA Anne-Marie Svolto and she is not

                opposed to a continuance in this matter.

        Wherefore, counsel requests a continuance of all Motion deadlines and the current trial

 date of August 15, 2023.

        Respectfully submitted this 19th day of July, 2023.

                                                               /s/ M. Jeffrey Whitt
                                                               M. JEFFREY WHITT
                                                               Counsel for Defendant
                                                               607 Market Street, Suite1100
                                                               Knoxville, Tennessee 37902
                                                               (865) 524-8106



                                      CERTIFICATE OF SERVICE


                The undersigned hereby certifies that a true and exact copy of the foregoing

 document was filed electronically on July 19, 2023. Notice of this filing will be sent by the Court’s

 electronic filing system and will be served on all parties indicated on the receipt. All other parties

 will be served via U.S. Mail.



                                                         /s/ M. Jeffrey Whitt
                                                         M. JEFFREY WHITT
                                                         Counsel for Defendant
                                                         607 Market Street, Suite1100
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